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 7                                 UNITED STATES DISTRICT COURT
 8                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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10   MANJIT KAUER RAI,                                  No. 2:06-cr-58-JAM-EFB P
11                      Movant,
12          v.                                          ORDER
13   UNITED STATES OF AMERICA,
14                      Respondent.
15

16          Movant, proceeding pro se, has filed a motion to vacate, set aside, or correct her sentence

17   pursuant to 28 U.S.C. § 2255. ECF No. 627. Since movant may be entitled to the requested

18   relief, respondent is directed to file a response within sixty days from the date this order is issued.

19   See Rule 4(b), Rules Governing Section 2255 Proceedings. Respondent shall include with any

20   answer any and all transcripts or other documents relevant to the determination of the issues

21   presented in the motion. Rule 5, Rules Governing Section 2255 Proceedings. Movant’s reply, if

22   any, is due on or before thirty days from the date respondent’s answer is filed. Id.

23          The Clerk of the Court shall serve a copy of this order, together with a copy of movant’s

24   motion on the United States Attorney or his authorized representative.

25          So ordered.

26   DATED: January 26, 2016.

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